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   1

   2
   3                                                                             Southland Sod
   4   Farms v. Stover Seed Co. ,108 F.3d 1134, *1139 (9th Cir. 1997).
   5   [Disputed on grounds that: (i) by referring generally to "Defendants' " "domain
   6   name, website, and related marketing" Plaintiffs illustrate their own fundamental
   7   failure to identify the advertisement or even defendant at issue in this case, making
   8   any regular false advertising analysis difficult; (ii) Plaintiffs then mix into one
   9   finding two distinct tests for false advertising: advertising that is literally false and
  10   advertising likely to mislead; (iii) there is no case for literal falsity here where there
  11   is no express claim of affiliation and mere use of a generic abbreviation;
  12   (iv) Plaintiffs failed to prove that the advertisement is likely to mislead a significant
  13   number of reasonably prudent consumers.]
  14            3.
  15
  16
  17                                 Better Business Bureau Inc. v. Medical Directors Inc.,
  18   681 F.2d 397 (5th Cir. 1982)(affirming the lower court’s enjoining of ads that
  19   misleadingly implied that a weight reduction program was approved by the Better
  20   Business Bureau).
  21   [Disputed on grounds that: (i) by this finding, Plaintiffs ask this Court to unmoor its
  22   decision from any analysis of the likelihood that an advertisement will mislead and
  23   instead summarily conclude that the use of the generic abbreviation DMV is false
  24   advertising; in this context, it is worth noting that the Better Business Bureau case
  25   was on appeal of a preliminary injunction, where full evidence was not available and
  26   where a non-generic mark was at issue; and (ii) the Better Business Bureau case
  27   which Plaintiffs rely on in fact illustrates Defendants' contentions that this is a false
  28   association case, not a false advertising case, and that the owner of a mark should
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   1   be the one to sue (i.e., in that case BBB had clear false association standing). See
   2   Better Business Bureau, Inc. v. Medical Directors, Inc., 681 F.2d 397 (5th Cir. 1982)
   3   (BBB has plain standing to pursue false association case); compare Merck & Co.,
   4   Inc. v. Mediplan Health Consulting, Inc., 425 F.Supp.2d 402, 417 (S.D.N.Y. 2006)
   5   ("false advertising claims based on allegations of implied government approval have
   6   not been allowed").]
   7            4.
   8
   9                           See, e.g., PACCAR Inc. v. Telescan Tech. LLC, 319 F.3d 243,
  10   250 (6th Cir.2003) [citing cases, including: People for the Ethical Treatment of
  11   Animals v. Doughnev, 263 F.3d 359, 366 (4th Cir.2001) (“The domain name
  12   peta.org simply copies PETAs Mark,conveying the message that it is related to
  13   PETA.”); Brookfield 174 F.3d at 1055, 1066 (“The domain name is more than a mere
  14   address: like trademarks, second-level domain names communicate information as to
  15   source.. .“); Panavision, 141 F.3d 1316, 1327(”We reject [the] premise that a domain
  16   name is nothing more than an address. A significant purpose of a domain name is to
  17   identify the entity that owns the web site.”)].
  18   [Irrelevant because the finding itself again demonstrates that this is a
  19   trademark-type "origin" case, not a false advertising case about the mere "nature,
  20   qualities, characteristics, or geographic origin." Plaintiffs lack standing to pursue
  21   false association under (a)(1)(A) because they have no interest in the mark.
  22   Compare e.g. People for the Ethical Treatment of Animals v. Dougherty, 263 F.3d
  23   359, 366 (4th Cir. 2001) (PETA has plain standing to sue for alleged improper use
  24   of PETA in domain).]
  25            5.
  26
  27

  28   U-Haul Intern., Inc. v. Jartran, Inc. , 522 F.Supp. 1238, 1254 (D.C.Ariz., 1981), aff’d,
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   1   681 F.2d 1159 (9th Cir. 1982)(“although [the defendant] may not have set out
   2   deliberately to develop a misleading advertising campaign . . ., the strategy it adopted
   3   as the basis for its campaign created a substantial risk of misleading the public, a risk
   4   that was called to [the defendant’s] attention on several occasions. Nonetheless, [the
   5   defendant] did nothing to insure that the misleading potential of its strategy did not
   6   materialize”); U-Haul International Inc. v. Jartran Inc., 793 F.2d 1034, 1041 (9th
   7   1986) (“The expenditure by a competitor of substantial funds in an effort to deceive
   8   consumers and influence their purchasing decisions justifies the existence of a
   9   presumption that consumers are, in fact, being deceived. He who has attempted to
  10   deceive should not complain when required to bear the burden of rebutting a
  11   presumption that he succeeded.”); Oil Heat Institute of Oregon v. Northwest Natural
  12   Gas , 708 F.Supp. 1118, 1126 (D.Or.,1988)(on the plaintiff’s motion for summary
  13   judgment, a trier of fact could find that defendant intended to create a false
  14   impression on basis of evidence that defendant knew that its statement was not true
  15   with respect to all recipients, but made no attempts to clarify it).
  16   [Disputed on grounds that: (i) Plaintiffs again ask this Court to short-circuit the
  17   false advertising analysis, this time based upon a specious allegation of intentional
  18   misconduct; (ii) the evidence in this case showed that from day one DMV.ORG has
  19   had disclaimers and clarifying language on every page of its website, without any
  20   affirmative misrepresentation; by looking at the behavior of others in the industry,
  21   including Plaintiffs themselves (who make no disclaimers), DMV.ORG's conduct
  22   cannot fairly be construed as intentionally misleading. Contrast U-Haul v. Jartran,
  23   Inc., 522 F.Supp. 1238, 1254 (D.Az. 1981) (defendant "did nothing" to mitigate
  24   confusion); and Oil Heat Institute of Oregon v. Northwest Natural Gas, 708 F.Supp.
  25   1118, 1126 (D.Or. 1988) (on summary judgment, merely noting that fact that
  26   defendant made "no attempts to clarify" could weigh against defendant).]
  27            6.
  28                                         Southland Sod Farms v. Stover Seed Co. ,108
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   1   F.3d 1134, *1139 (9th Cir. 1997); U-Haul Intern., Inc. v. Jartran, Inc., 601 F.Supp.
   2   1140, 1149 (D.C.Ariz. 1984), aff’d in art, rev’d in part on other grds, mod. in part on
   3   other grds., 793 F.2d 1034 (9th Cir. 1986)(“Consumer reliance . . . can be shown by
   4   direct evidence such as testimony from individual members of buying public, or by
   5   circumstantial evidence, such as surveys of buying public.”); Cuisinarts, Inc. v.
   6   Robot-Coupe International Corp., 509 F.Supp. 1036 (S.D.N.Y. 1981)(if tendency to
   7   deceive is obvious, court may so determine without reference to recipients’
   8   reactions); Better Business Bureau Inc. v. Medical Directors, Inc., 681 F.2d 397 (5th
   9   Cir. 1982)(direct evidence of specific persons who were the target of Defendants’
  10   misrepresentations and who were deceived may be sufficient to establish deception
  11   and may even be the best means of establishing it, rather than survey evidence).
  12   [Disputed on grounds that: (i) Plaintiffs refuse to acknowledge that confusion must
  13   be by consumers who are "reasonably prudent;" see Cairns v. Franklin Mint Co., 24
  14   F.Supp. 2d 1013 (C.D.Cal. 1998) ("reasonable consumer" vantage point required);
  15   (ii) there is no proof of actual deception of a "substantial segment;" confusion
  16   evidence is anecdotal and statistically insignificant across one million visitors per
  17   week (e.g., one driver's ed student); compare Johnson & Johnson-Merck Consumer
  18   Pharmaceuticals Co. v. Rhone-Poulenc Rorer Pharmaceuticals, 19 F.3d 125 (3rd
  19   Cir. 1994) (7.5% found not substantial) and McCarthy on Trademarks, section
  20   32:193 (4th ed.) (reliable survey evidence required in false advertising cases); (iii)
  21   the Maronick survey is not reliable because of its numerous flaws.]
  22            7.
  23
  24
  25   Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1142 -1143 (9th Cir. 1997);
  26   McNeilab Inc. v. American Home Products Corp., 501 F.Supp. 517 (S.D.N.Y.
  27   1980)(qualitative rather than quantitative determination is enough to support
  28   conclusion that advertisement tends to mislead).
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   1   [Disputed on the grounds that the Maronick surveys are unreliable because of the
   2   numerous survey errors including the failure to use a control, the failure to instruct
   3   respondents not to guess, the failure to mimic a visitor’s actual experience through
   4   the use of improper stimuli and dissection of DMV.ORG into component parts, the
   5   use of leading questions, and the combination of key questions on the same page.
   6   Simon Prop. Group L.P. v. mySimon, Inc., 104 F.Supp.2d 1033 (S.D. Ind. 2000)
   7   (survey excluded; survey "must consist of non-leading questions"); NFL Props., Inc.
   8   v. Prostyle, Inc., 57 F. Supp. 2d 665, 668-69 (D. Wis. 1999) (excluding survey
   9   evidence for failure to include a control); Nat'l Distillers Prods. Co. v. Refreshment
  10   Brands, Inc., 198 F.Supp. 2d 474, 484 (S.D.N.Y. 2002) (no weight where survey did
  11   "not sufficiently replicate marketplace conditions"); and Major League Baseball
  12   Properties, Inc. v. Sed Non Olet Denarius, Ltd., 817 F. Supp. 1103, 1123-24
  13   (S.D.N.Y. 1993) (holding survey data "meaningless and having no evidentiary value"
  14   due to leading questions and failure to use controls).]
  15            8.
  16
  17                                         Southland Sod Farms v. Stover Seed Co. ,108
  18   F.3d 1134, *1139 (9th Cir. 1997); In re Cliffdale Ass'n, Inc., 3 Trade Reg Rptr
  19   (CCH) ¶22,137 (FTC Ckt 9156 1984) (it is presumed that misleading testimonials or
  20   endorsements would have a tendency to mislead consumers into making buying
  21   decisions that otherwise might not be made).
  22   [Disputed on the grounds that: (i) Plaintiffs again seek a presumption, this time of
  23   materiality, that is entirely unwarranted; (ii) Plaintiffs failed to carry their burden to
  24   establish materiality; instead, the facts show that the alleged perceived affiliation is
  25   not material; rather, of critical importance is simply whether the course will satisfy
  26   the government requirement - no evidence suggests that endorsement by a state
  27   agency of one acceptable course over another would be material (Maronick
  28   conceded he did not even test this thesis); of significant additional importance are
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   1   price and convenience; Plaintiffs themselves believed, contrary to the materiality
   2   thesis, that DMV.ORG's traffic was "unqualified" (i.e., unlikely to produce a sale);
   3   and, conversion data shows that DMV.ORG's traffic converts to purchasers at a
   4   lower rate than Plaintiffs' own traffic (both before and after changes to the website),
   5   undermining the materiality thesis. Cf. Pizza Hut, Inc. v. Papa John's Intern., Inc.,
   6   227 F.3d 489, 504 (5th Cir. 2000) (plaintiff failed to prove that misleading slogan
   7   "Better Ingredients, Better Pizza" was material to the purchasing decision).]
   8            9.
   9
  10                                                                            See, e.g., Oil
  11   Heat Institute of Oregon v. Northwest Natural Gas, 708 F.Supp. 1118, 1123
  12   (D.Or.,1988)(“A factfinder could reasonably conclude that information regarding the
  13   amount of maintenance required for natural gas equipment is likely to influence the
  14   purchasing decisions of consumers.”).
  15   [Disputed on the grounds that: (i) Plaintiffs mis-define this case when they assert
  16   that the alleged affiliation goes to a "quality" or "characteristic" of the service - the
  17   alleged wrong is one of source or endorsement (1125(a)(1)(A)), not a
  18   quality/characteristic of the services (1125(a)(1)(B)); Plaintiffs at this stage of the
  19   case bear the burden of proof and are no longer entitled to the lenient 12(b)(6)
  20   pleading standards; and (ii) Plaintiffs then urge this Court to assume materiality,
  21   relying upon a case in which a district court merely denied defendants' motion for
  22   summary judgment on grounds that one of the accused advertisements could be
  23   construed as material (not finding that it was in fact actually false). See Oil Heat
  24   Institute, 708 F.Supp. at 1123.]
  25            10.
  26
  27                                              See, e.g., Williams Electronics Inc. v Bally
  28   Manufacturing Corp., 568 F.Supp 1274 (N.D. Ill. 1983) (evidence that misleading
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   1   promotional material was distributed only to members of trade who were
   2   sophisticated and who did not make purchasing decisions solely on basis of
   3   promotional material would not preclude finding that such persons relied on
   4   promotional material to some extent and could be influenced by it).
   5   [Disputed on the grounds that Ninth Circuit precedent requires the allegedly
   6   misleading material to be material to the purchasing decision. Southland Sod Farms
   7   v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997). Accord ALPO Petfoods v.
   8   Ralston Purina Co., 913 F.2d 958, 964 (D.C. Cir. 1990) (false or misleading
   9   advertisements must be “material in their effects on buying decisions”); Taquino v.
  10   Teledyne Monarch Rubber, 893 F.2d 1488, 1500 (5th Cir. 1990) (deception must be
  11   “material, in that it is likely to influence the purchasing decision”); American Tel. &
  12   Tel. Co. v. Winback & Conserve Program, 42 F.3d 1421, n.9 (3d Cir. 1994) (plaintiff
  13   alleging false advertising must prove that “the deception is material in that it is
  14   likely to influence purchasing decisions”).
  15            11.                                                                          .
  16   Southland Sod Farms v. Stover Seed Co. ,108 F.3d 1134, *1139 (9th Cir. 1997);
  17   Intermatic Inc. v. Toeppen, 947 F.Supp. 1227, 1239-40 (N.D. Ill. 1996)(finding
  18   internet communications to meet the “in commerce” requirement).
  19   [Disputed only as to whether there were false statements.]
  20            12.
  21                                                                            Southland
  22   Sod Farms v. Stover Seed Co. ,108 F.3d 1134, *1139 (9th Cir. 1997); Oil Heat
  23   Institute of Oregon v. Northwest Natural Gas, 708 F.Supp. 1118, 1123 -1124
  24   (D.Or.,1988)(the court found sufficient that the plaintiff had produced evidence from
  25   which it could be found that the parties were competitors and that sales by the
  26   defendant would necessarily represent a loss of business to the plaintiff);Mortellito v.
  27   Nina of California Inc., 335 F.Supp 1288 (S.D.N.Y 1972) (plaintiff and defendant
  28   were indirect competitors where their products were similar).
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   1   [Disputed on the grounds that Plaintiffs have offered no evidence correlating any
   2   alleged injuries with the DMV.ORG website. Plaintiffs and Defendants are not in
   3   the same business. Plaintiffs’ subjective belief of injury is insufficient. Century 21
   4   Real Estate Corp. v. Re/Max South County, 882 F.Supp. 915, 924-25 (C.D. Cal.
   5   1994) (plaintiff's false advertising claim failed since it could not prove "a logical
   6   causal connection between the alleged false advertising and its own sales position";
   7   plaintiff's "mere subjective believe that he will be injured" deemed insufficient);
   8   Bateman v. Por-ta Target, Inc., 2004 U.S. Dist. Lexis 28487, *65 (C.D. Cal. 2004)
   9   (summary judgment granted as to false advertising counterclaim for failure to show
  10   specific harm or causal connection to alleged false advertising).]
  11            13.
  12

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  19
  20                         15 U.S.C. § 1125(a)(1)(providing that one who false advertises
  21   “shall be liable in a civil action by any person who believes he or she is or is likely to
  22   be damaged. . .”; Jack Russell Terrier Network of N. California v. Am. Kennel Club,
  23   407 F.3d 1027, 1037 (9th Cir. 2005); Nat’l Servs. Group v. Painting & Decorators
  24   Contractors of Am., No. SACV06-563CJC(ANX), 2006 WL 2035465, at *3-*4
  25   (C.D. Cal. July 18, 2006); Kournikova v. Gen. Media Commc’ns, 278 F. Supp. 2d
  26   1111, 1117-18 (C.D. Cal. 2003); Coastal Abstract Serv., Inc. v. First Am. Title Ins.
  27   Co., 173 F.3d 725, 734 (9th Cir. 1999); W. States Wholesale, Inc. v. Synthetic Indus.,
  28   Inc., 206 F.R.D. 271, 276 (C.D. Cal. 2002); Summit Tech., Inc. v. High-Line Med.
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   1   Instruments, Co., 933 F.Supp. 918, 939 (C.D. Cal. 1996).
   2   [Disputed on the grounds that a broad theory of standing based upon mere common
   3   purchase of keywords is inconsistent with 9th Circuit law and demonstrates the
   4   desperate state of Plaintiffs' standing. Fuller Bros., Inc. v. Int'l Mktg., Inc., 870
   5   F.Supp. 299, 303 (D.Or. 1994) (competitors are "persons endeavoring to do the
   6   same thing and each offering to perform the act, furnish the merchandise, or render
   7   the service cheaper than his rival"). If the Court were to adopt plaintiffs' standing
   8   argument, “any two parties with some economic nexus, or whose conduct has some
   9   economic effect upon the other, could be construed as 'competitors' and there would
  10   be no need for distinction in the standing requirements between a false advertising
  11   claim . . . and a false association claim,” contrary to Ninth Circuit precedent. Sugai
  12   Products, Inc. v. Kona Kai Farms, Inc., 1997 WL 824022, *11 (D.Hawaii 1997)
  13   (quoting Summit Technologies v. High-Line Medical Instruments, Co., 933 F.Supp.
  14   918 (C.D. Cal. 1996)).]
  15            14.
  16
  17
  18                See, J. Thomas McCarthy, MCCARTHY ON TRADEMARKS AND UNFAIR
  19   COMPETITION, § 25:23 [4th Edition 2006] stating, the “use of the word ‘conspiracy”’
  20   is merely another way of describing a concert of action and intent which will extend
  21   tort liability beyond the active wrongdoer to those who merely planned, assisted or
  22   encouraged his acts, and citing to numerous cases, including Transgo, Inc. v. Ajac
  23   Transmission Parts Corp., 768 F.2d 1001 (9th Cir. 1985), cert. denied, 474 U.S. 1059
  24   (1986)(corporate officer or director is personally liable for all infringing acts which
  25   he authorizes or directs or in which he participates; liability found); Corning Glass
  26   Works v. Jeannette Glass Co., 308 F. Supp. 1321 (S.D.N.Y. 1970), aff'd, 432 F.2d
  27   784 (2nd Cir. 1970); Hard Rock Café Licensing Corp. v. Concession Services, Inc.,
  28   955 F.2d 1143, 1768 (7th Cir. 1992); American Philatelic Soc’y v. Claibourne, 3 Cal.
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   1   2d 689, 46 P.2d 135 (1935)(in cases of unfair competition, one who induces another
   2   to commit fraud and furnishes the means is equally guilty); Data Digests, Inc. v.
   3   Standard & Poor's Corp., 43 F.R.D. 386 (D.N.Y. 1967). David Berg & Co. v. Gatto
   4   International Trading Co., 884 F.2d 306 (7th Cir. 1989)(“Because unfair competition
   5   and trademark infringement are tortious, the doctrine of joint tortfeasors does apply.
   6   … Every person actively partaking in, lending aid to, or ratifying and adopting such
   7   acts is liable equally with the party itself performing these acts.”); Babbit
   8   Electronics, Inc. v. Dynascan Corp., 38 F.3d 1161, 1184, 33 U.S.P.Q.2d 1001, 1018
   9   (11th Cir. 1994) (found liable were corporate officers who directed, controlled,
  10   ratified or participated in, or were the moving force behind, infringing activity. These
  11   persons are personally liable “without regard to piercing of the corporate veil.”).
  12   [Disputed on the grounds that Plaintiffs failed to offer any evidence demonstrating
  13   an intent to engage in false advertising or plan to assist in false advertising on
  14   behalf of each of the named Defendants. See Defendants' Motion for Judgment on
  15   Partial Findings; compare Transgo, Inc. v. Ajac Transmission Parts, 768 F.2d 1001,
  16   1021 (9th Cir. 1985) (president's individual liability affirmed where evidence amply
  17   demonstrated "instrumental role" of president in "copying" plaintiffs products and
  18   "marketing the imitations as if they were Transgo's products"); and Donsco, Inc. v.
  19   Casper Corporation, 587 F.2d 602 (3rd Cir. 1978) (personal liability of owner found
  20   where owner delivered plaintiff's certificate of authenticity to designer for copying);
  21   and Babbit Electronics, Inc. v. Dynascan Corp., 38 F.3d 1161, 1184 (11th Cir. 1994)
  22   (personal liability found where individuals admitted they were personally involved in
  23   purchase and sale of infringing products after receipt of notice by plaintiff that such
  24   conduct was in violation of plaintiff's rights).]
  25            B.        Legal Conclusions Regarding Various Defenses
  26            15.                                                     . See e.g.,
  27   Performance Indus. Inc. v. Koos. Inc., 18 U.S.P.Q.2d 1767, 1770-71 (E.D. Pa.
  28   1990)(a false claim that a product has Environmental Protection Agency approval is
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   1   a violation of § 43(a)); William H. Morris Co. v. Group W. Inc., 66 F.3d 255, 257-58
   2   (9th Cir. 1995)(The Lanham Act reaches not only blatant falsehoods, but also
   3   innuendo, indirect intimations and ambiguous suggestions); U-Haul Intern., Inc. v.
   4   Jartran, Inc., 681 F.2d 1159, 1161-62 (9th Cir. 1982); Schroeder v. Lotito, 577
   5   F.Supp. 708, 721 (D.C.R.I.,1983); Better Business Bureau Inc. v. Medical Directors
   6   Inc., 681 F.2d 397 (5th Cir. 1982)(false implication of agency’s approval on the face
   7   of advertisement); CPC Intern., Inc. v. Caribe Food Distributors, 731 F.Supp. 660,
   8   670 (D.N.J.,1990)(manufacturer of a corn oil could prevail on its claim under § 43(a)
   9   if it could prove that the sentence that appeared on the back of the bottle implying the
  10   oil was approved the United States government had a tendency to deceive – the
  11   manufacturer was not required to show actual deception); Birthright v. Birthright
  12   Inc., 827 F.Supp. 1114, 1138 (D. N.J. 1993)(held that the incorporation in fund-
  13   raising letters sent out by organization of another’s service mark supported false
  14   advertising claim because donors may have chosen not to make contributions if they
  15   knew that the donations were going only to the defendant).
  16   [Disputed on the grounds that Plaintiffs’ claim is really a false endorsement claim
  17   brought under the guise of a false advertising claim. See Third Amended Complaint,
  18   ¶ 31 ("sanctioned by or affiliated with" the state). Each of the implied approval
  19   cases relied upon by Plaintiffs relate to mere EPA or FDA approval of a product
  20   implying safety or efficacy, without any suggestion that the EPA or FDA either
  21   endorsed or was affiliated with the manufacturer of the product. See e.g. Cottrell,
  22   Ltd. v. Biotrol Int'l, Inc., 191 F.3d 1248, 1255-56 (10th Cir. 1999) (implied claim of
  23   EPA approval of efficacy claim actionable). To the extent that Plaintiffs’ claim is
  24   one of implied endorsement/affiliation, it fails as a matter of law. Mylan Labs, Inc.
  25   v. Matkari, 7 F.3d 1130 (4th Cir. 1993) (false advertising claims failed to due to lack
  26   of express claim of government approval); Merck & Co., Inc. v. Mediplan Health
  27   Consulting, Inc., 425 F.Supp. 2d 402, 417 (S.D.N.Y. 2006) (“false advertising claims
  28   based on allegations of implied governmental approval have not been allowed, for
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   1   ‘the law does not impute representations of government approval . . .in the absence
   2   of explicit claims.’”).]
   3            16.
   4
   5

   6                           Zipee Corp. v. U.S. Postal Service, 140 F.Supp.2d 1084
   7   (D.Or.,2000) (owner of “postal-service.com” had violated the anti-cybersquatting
   8   statute by registration of the United States Postal Service's “postal service” mark,
   9   even though domain name was open for registration).
  10   [Disputed on grounds that: (i) Online Guru has never suggested that the mere
  11   availability of the domain is a defense in this case; (ii) the Zipee case, supra, aptly
  12   illustrates the absence of standing in the present case; compare the U.S. Post Office
  13   in that case - with a plain interest in the descriptive mark - and Plaintiffs in the
  14   present case - with no rights in the term DMV; the analogous situation would be
  15   where a competitor of a mere advertiser on the Zipee website were given standing to
  16   sue Zipee for its use of the domain.]
  17            17.
  18
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  20
  21                                                                     Pennsylvania State
  22   University v. University Orthopedics, Ltd., 706 A.2d 863, 868 (Pa.Super.1998)
  23   (University was not required to prove exclusive use of term “university” to support
  24   its cause of action for unfair competition under the Lanham Act where “consumer
  25   confusion or a likelihood of consumer confusion arose from the failure of the
  26   defendant to adequately identify itself as the source of the product.”).
  27   [Disputed on grounds that again the case relied upon by Plaintiffs demonstrates the
  28   lack of Plaintiffs standing. In Pennsylvania State University, supra, an entity with an
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   1   interest in the mark "University" filed suit. In the present case, whether the term
   2   DMV is generic or descriptive is irrelevant: Plaintiffs have no interest in the term
   3   DMV.]
   4            18.
   5

   6   Southland Sod Farms v. Stover Seed Co. ,108 F.3d 1134, *1139 (9th Cir. 1997).
   7   [Disputed on the grounds (i) these entities are the ones that would have an interest
   8   in the matter; and (ii) the inaction of all of the states is probative. In fact, despite the
   9   letters Plaintiffs sent encouraging states to join their lawsuit, no state joined and the
  10   state of Georgia responded that it found nothing misleading on DMV.ORG and
  11   Pennsylvania entered a linking agreement with DMV.ORG. 11/7 TT 88:25-89:6; TE
  12   58, 659.]
  13            19.
  14                                            See, e.g., Tambrands Inc. v. Warner-Lambert
  15   Co., 673 F.Supp. 1190, 1194 (S.D.N.Y. 1987)(“I find that the thrust of defendants'
  16   advertisements is false, and that even the qualifying words added to the advertising
  17   copy do not sufficiently modify the message to render the advertisements true.”);
  18   Thompson Medical Co. v. Ciba-Geigy Corp., 643 F.Supp. 1190, 1197 (S.D.N.Y.
  19   1986)(disclaimers printed beside bar graph were not sufficient to prevent graph from
  20   conveying false message).
  21   [Disputed. Plaintiffs have offered no proof that the current conspicuous and
  22   numerous disclaimers are insufficient to provide notice to reasonably prudent
  23   consumers. To the contrary, Lisa Warren, one of Plaintiffs' few witnesses, testified
  24   that the current logo license plate is "not confusing." 11/7 TT 136:24-137:20; see
  25   e.g. Taubman v. Webfeats, 319 F.3d 770, 777 (6th Cir. 2003) (Defendant's
  26   disclaimer on its website, www.shopsatwillowbend.com, indicating that it was not
  27   the official website for Plaintiff's mall, "The Shops at Will Bend," negated likelihood
  28   of consumer confusion.). If the Court finds these conspicuous and redundant
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   1   disclaimers insufficient, then it will redefine and dramatically expand the court's
   2   supervisory role over U.S. businesses and invite further litigation.]
   3            20.
   4
   5   [Although in many cases, claims of laches and unclean hands are without merit, this
   6   case is an exception. Here, Plaintiffs have intentionally and continue to engage in
   7   conduct which is demonstrably worse than that of which they complain. Moreover,
   8   they unreasonably delayed this suit, instead choosing to seek to do business with
   9   DMV.ORG.]
  10            21.
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  16
  17   See, J. THOMAS MCCARTHY, MCCARTHY ON TRADEMARKS AND UNFAIR
  18   COMPETITION, § 31:53, Volume 6 (4th Ed. 2007)(hereafter “MCCARTHY”), citing
  19   cases, including, the Ninth Circuits U-Haul International. Inc. v. Jartran, Inc., 522 F.
  20   Supp. 1238 (D. Ariz. 1981), affd, 681 F.2d 1159, 216 U.S.P.Q. 1077 (9th Cir. 1982)
  21   (unclean hands is a disfavored defense in false advertising cases).” Republic
  22   Molding Corp. v. B. W. Photo Utilities, 319 F.2d 347 (9th Cir. 1 963)(Unclean
  23   hands, then, does not stand as a defense that may be properly considered independent
  24   of the merits of the plaintiffs claim...its assertion does not eliminate the need for the
  25   court to ascertain the soundness of the plaintiff’s claim . . . the relative extent of each
  26   partys wrong upon the other and upon the public should be taken into account and
  27   an equitable balance struck.”).
  28   [Disputed on the grounds that equitable defenses are trumped “only when the suit
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   1   concerns allegations that the product is harmful or otherwise a threat to public
   2   safety and well being.” Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829,
   3   841 (9th Cir. 2002). Further, “[t]he unclean hands doctrine provides a defense to
   4   false advertising claims under the Lanham Act.” Emco v. Obst, 2004 U.S. Dist.
   5   Lexis 12118, *12-13 (C.D. Cal. 2004); Japan Telecom, Inc. v. Japan Telecom Am.,
   6   Inc., 287 F.3d 866, 870 (9th Cir. 2002) (expressly recognizing the availability of the
   7   unclean hands defense to false affiliation claims).]
   8            22.
   9
  10              MCCARTHY § 3 1:55, citing Coca-Cola Co. v. Koke Co. of America, 254
  11   U.S. 143 (1920); Q-Tips. Inc. v. Johnson & Johnson, 108 F. Supp. 845 (D.N.J. 1952)
  12   (misrepresentations of plaintiff stopped before suit filed); Finchley. Inc. v. Finchly
  13   Co., 40 F.2d 736 (D. Md. 1929) (allegedly deceptive advertising discontinued several
  14   years before suit filed).
  15
  16                  Fund of Funds. Ltd. v. First American Fund of Funds, 274 F. Supp. 517
  17   (S.D.N.Y. 1967).
  18   [Plaintiffs have not ceased the conduct which constitutes unclean hands, for
  19   instance: (i) they continue to use state indicia on their DrivingLinks.com and
  20   FloridaTrafficSchool.com websites; and (ii) they continue to own DMV domain
  21   names (dmvapprovedtrafficschool.com, internet-dmv.org, online-dmv.org, etc.).]
  22            23.
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  28                               MCCARTHY § 31:51, citing Fuddruckers. Inc. v. Docs
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   1   B.R. Others, Inc. 826 F.2d 837 (9th Cir. 1987), also citing, Republic Molding Corp.
   2   v. B. W. Photo Utilities, 319 F.2d 347 (9th Cir. 1963) (false marking of article as
   3   patented before plaintiff actually obtained a patent held unrelated to action for
   4   simulation of that article).”
   5            24.
   6                              MCCARTHY § 31:41; See, e.g. ProFitness Physical
   7   Therapy Center v. Pro-Fit Orthopedic and Sports Physical Therapy P.C., 314 F.3d 62
   8   (2d Cir. 2002)(“[A] court may nonetheless grant injunctive relief if it determines that
   9   the likelihood of confusion is so great that it outweighs the effect of plaintiffs
  10   delay.”).
  11   [Disputed on the grounds that Ninth Circuit case law makes clear that equitable
  12   defenses are trumped only where the related causes of action raise allegations
  13   concerning a threat to public safety and well being. Jarrow Formulas, Inc. v.
  14   Nutrition now, Inc., 304 F.3d 829, 841 (9th Cir. 2002) (affirming summary judgment
  15   against plaintiff's false advertising claim based on laches, finding that "the public's
  16   interest will trump laches only when the suit concerns allegations that the product is
  17   harmful or otherwise a threat to public safety and well being"). Further, there is no
  18   “strong showing” of likely confusion - only statistically insignificant confusion and
  19   an unreliable survey.]
  20            25.
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  22
  23   MCCARTHY § 31:19-20.
  24   [Disputed. See Grupo Gigante SA De CV v. Dallo & Co., Inc., 391 F.3d 1088, 1101
  25   (9th Cir. 2004) (laches based on four year delay). Defendants presented significant
  26   evidence that Plaintiffs carefully considered responses to DMV.ORG in 2002,
  27   including the immediate registration of DrivingLinks.com and efforts to recover a
  28   domain name; Plaintiffs re-encountered DMV.ORG in 2003 and still took no action.]
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   2            C.        Legal Conclusions Regarding Unfair Competition Under B&P Code
   3                      § 17200 et seq.
   4            26.
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  14           Cel-Tech, at p. 180; also see Korea Supply v. Lockheed Martin, 29 Cal. 4th
  15   1134, 1144 (2003).
  16   [Disputed. Plaintiffs ignore the standing requirements under Cal. Bus. & Prof. Code
  17   section 17204, which specifically require both injury in fact and resulting loss of
  18   money or property. Plaintiffs have failed to carry their burden to establish either
  19   standing prong. For the same additional reasons that Plaintiffs' Lanham Act claims
  20   fail (failure to prove confusion, failure to prove materiality), Plaintiffs' 17500 claim
  21   also fails.]
  22            27.
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               PLAINTIFFS’ POST TRIAL [PROPOSED] FINDINGS OF FACTS AND CONCLUSIONS OF LAW
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   2   [Plaintiffs continue to assert these improper bases for 17200 which were not pleaded
   3   and are not therefore properly before this Court. See Third Amended Complaint, ¶¶
   4   51-55 (17200 claim); and discussion in Defendants Memorandum of Fact and Law,
   5   pp. 7-8; and Conley v. Gibson, 355 U.S. 41, 47-48 (1957) (complaint must give "fair
   6   notice of the claim being asserted and the grounds upon which it rests").]
   7            28.
   8                                            International Order of Job’s Daughters v.
   9   Lindeburg, 633 F. 2d 912, 916 (9th Cir. 1980)(“federal and state laws regarding
  10   trademarks and related claims of unfair competition are substantially congruent.”).
  11   As such, by virtue of the Court’s finding that Defendants have violated Section 43a
  12   of The Lanham Act, Defendants are also in violation of California’s UCL.
  13   [Disputed to the extent that this Court construes the Lanham Act to require
  14   something less than the statutory requirements for standing under Cal. Bus. & Prof.
  15   Code section 17204. Section 17204 specifically precludes a private person from
  16   bringing suit unless he has suffered "injury in fact and has lost money or property as
  17   a result."]
  18
                29.
  19                                                                 Annunziato v.
  20   Emachines, 402 F. Supp. 1133, 1137 (C.D. Cal. 2005)
  21 [Disputed on grounds that Plaintiffs utterly failed to prove an injury in fact or that
  22 they actually lost money as a result of some conduct by Defendants.]
  23            D.        Legal Conclusions Regarding Injunctive Remedies under the
  24                      Lanham Act

  25            30.
  26
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   5               F.T.C. v. H.N. Singer, Inc., 668 F.2d 1107, 1112 (9th Cir. 1982), quoting
   6   Virginian R. Co. v. System Federation, 300 U.S. 515, 552 (1937).
   7
   8   [Disputed on the grounds that the public interest is invoked only when the subject of
   9   the lawsuit implicates public safety and/or well being. Jarrow Formulas, Inc. v.
  10   Nutrition Now, Inc., 304 F.3d 829, 841 (9th Cir. 2002) (affirming summary judgment
  11   against plaintiff's false advertising claim based on laches, finding that "the public's
  12   interest will trump laches only when the suit concerns allegations that the product is
  13   harmful or otherwise a threat to public safety and well being"). There is no evidence
  14   that the DMV.ORG website implicates any such interest.]
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                          Northwest Environmental Defense Center v. Bonneville, 477 F.3d 668,
  19
       680 (9th Cir. 2007) (internal citations and quotations omitted).
  20
  21
                                                                       F.T.C. v. H.N. Singer,
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       668 F.2d 1107, 1112 (9th Cir. 1982), quoting Hecht Co. v. Bowles, 321 U.S. 321,
  23
       329 (1944 ).
  24
                                                                            Playboy Enterprises
  25
       v. Baccarat, 692 F.2d 1272, 1275 (C.D. Cal. 1982).
  26
  27
                                                                                  U-Haul v.
  28
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   1   Jartran, Inc. 793 F. 2d. 1034, 1042 (9th Cir. 1986).
   2   [Disputed on the grounds that 15 U.S.C. § 1117 provides that monetary relief is for
   3   the purposes of "compensation and not a penalty," and that Plaintiffs are not entitled
   4   to a windfall. Bandag, Inc. v. Al Bolser's Tire Stores, Inc., 750 F.2d 903, 919 (Fed.
   5   Cir. 1984) ("accounting [of profits] . . . is not automatic, and may be denied . . . ,
   6   where there has been no showing of fraud . . . , or where . . . 'careful examination of
   7   the record fails to reveal . . . that [plaintiff] has lost substantial business and profits
   8   as a result of [defendant's] unfair competition.'"); Century 21 Real Estate Corp. v.
   9   Re/Max South County, 882 F.Supp. 915, 924-25 (C.D. Cal. 1994) (plaintiff's false
  10   advertising claim failed since it could not prove "a logical causal connection
  11   between the alleged false advertising and its own sales position"; plaintiff's "mere
  12   subjective believe that he will be injured" deemed insufficient); Nikkal Industries
  13   Ltd. v. Salton, Inc.,735 F.Supp. 1227, 1238 (S.D.N.Y. 1990) (verdict for defendant;
  14   plaintiff failed to prove lost sales were the result of defendant's advertisements
  15   rather than other factors such as its marketing strategy and increased competition).
  16   Plaintiffs ignore the fundamental tenet of equitable relief, namely that equity should
  17   "grant relief no broader than necessary to cure the effects of the harm caused by the
  18   violation." Forschner Group v. Arrow Trading Co., 124 F.3d 402, 406 (2d Cir.
  19   1997).]
  20            32.
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                                   Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134,
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   1   1145 (9th Cir. 1997); see also Harper House, Inc. v. Thomas Nelson, Inc., 889 F.2d
   2   197, 210 (9th Cir. 1989).
   3
   4                        Southland Sod, 108 F.3d at 1140.
   5

   6
   7                                                                             Johnson and
   8   Johnson v. Carter-Wallace, Inc., 631 F.2d 186, 190 (2nd Cir. 1980) (“Sound policy
   9   reasons exist for not requiring proof of actual loss as a prerequisite to 43(a)
  10   injunctive relief. Failure to prove actual damages in an injunction suit, as
  11   distinguished from an action for damages, posed no likelihood of a windfall for the
  12   plaintiff. The complaining competitor gains mo more than to which it is already
  13   entitled a market free of false advertising.”)
  14
  15
  16
  17                                     Id. at 189, citing L’Aignon Apparel v. Lana Lobell,
  18   Inc., 214 F.2d 649, 651 (3rd Cir. 1954), and Bose Corp. v. Linear Design Labs, Inc.,
  19   467 F.2d 304, 311 (2nd Cir. 1972).
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